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                EXHIBIT 16
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          August 16, 2012

                                      Community Charrette on Homelessness
                              Community Action Plan Meetings August 20, 21, 23 and 28

          Experts from across the country will speak at a four-day Community Charrette on
          Homelessness to help develop a plan to prevent and end homelessness in Houston, Harris
          County and Fort Bend County. A Charrette is an intensive planning process that jumpstarts
          and streamlines how a community develops or updates its Community Action Plan.

          The public is invited to attend all of the free Charrette sessions which will address the causes
          and propose solutions to the multiple facets of homelessness. The four-day meetings will be
          held at the Harris County Department of Education, 6300 Irvington Boulevard, Conference
          Room 502 (located in the parking garage), Houston 77002 on Monday, August 20, 9 a.m. - 5
          p.m., Tuesday, August 21, 9 a.m. - 5 p.m. Thursday, August 23, 10 a.m. - 4:30 p.m. and the
          final report will be presented Tuesday, August 28, 10 a.m. - noon. (See full schedule below.)
          Free parking is available in both the Department of Education garage and its parking lot
          across the street.

          Mayor Annise Parker will give an opening address to Charrette participants on Monday, August
          20 at 9:15 a.m.

          For information on how to participate in the Charrette, contact Mary Itz, City of Houston
          Housing and Community Development at mary.itz@houstontx.gov or call 713.865.9314, or
          contact Gary Grier, Director of Community Engagement, Coalition for the Homeless of
          Houston/Harris County at ggrier@homelesshouston.org or call 713.739.7514.

          To learn more about the City of Houston Department of Housing and Community
          Development, visit www.houstontx.gov/housing/. The Charrette is sponsored by the Coalition
          for the Homeless, with support from the Corporation for Supportive Housing. For additional
          information visit www.homelesshouston.org.

          Charrette Schedule and Topics

          Monday, August 20, 2012
          9 a.m. - 9:30 a.m. Welcome and Overview
          9:30 a.m.- 11:30 a.m. Integrating Housing and Services
          12:30 p.m. - 2:30 p.m. Performance and Accountability
          3 p.m. - 5 p.m. Right Sizing Continuum of Care Housing Models

          Tuesday, August 21, 2012
          9 a.m. - 9:30 a.m. Welcome and Overview
          9:30 a.m. - 11:30 a.m. Prevention and Diversion
          12:30 p.m. - 2:30 p.m. Coordinated Access
          3 p.m. - 5 p.m. Building Political Will/Advocacy

          Thursday, August 23, 2012
          10 a.m. - noon Open office hours for Community Feedback
          2:30 p.m. - 4:30 p.m. Presentation of Initial Findings/Community Feedback Session

          Tuesday, August 28, 2012
          10:00 a.m. - noon Presentation of the Final Report


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